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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:17CR237

       vs.
                                                                         ORDER
JUAN JOSE SILVA CASTANEDA and JOSE
EFRAIN MARIN-ARANDA

                      Defendant.



       This matter is before the court on Defendant Marin-Aranda’s unopposed Motion to
Continue Trial [34]. Counsel has a scheduling conflict during the week of December 12, 2017
and needs to continue trial. For good cause shown,

        IT IS ORDERED that the Defendant Marin-Aranda’s unopposed Motion to Continue
Trial [34] is granted as follows:

      1. The jury trial, as to both defendants, now set for December 12, 2017, is continued to
February 27, 2018.

         2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and February 27, 2018, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).


       Dated this 1st day of December, 2017.


                                              BY THE COURT:

                                              s/Susan M. Bazis
                                              United States Magistrate Judge
